Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

ARHELY GONZALEZ-CUEVAS, i CASE NO.:
Plaintiff, :
v. | PETITION FOR REMOVAL
' BASED UPON DIVERSITY
JAMES GLOVER AND OF CITIZENSHIP
ABF FREIGHT SYSTEM, INC.,
Defendants. : JUNE 28, 2019

 

TO: Clerk of the United States District Court
District of Connecticut

NOW COME detendants/petitioners, JAMES GLOVER and ABF FREIGHT SYSTEM,
INC., by and through their undersigned counsel, and respectfully petition this Honorable Court
as follows:
1. Petitioners are the named defendants in a civil action captioned Arhely Gonzalez-Cuevas
v, James Glover, et al., which matter is being filed in the Connecticut Superior Court,
Judicial District of Fairfield at Bridgeport (hereafter “the state court action”). The
statutory return date in the state court action is July 30, 2019, but the Summons and
Complaint (which are attached hereto as Exhibit A) have not yet been returned to court.
Therefore, there is no assigned docket number as of yet.
2. The Complaint in the state court action sounds in negligence and arises from a motor
vehicle accident alleged to have occurred January 14, 2018 on Interstate 91 in

Wallingford. It is alleged that the Plaintiff was operating a passenger vehicle that was
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rear ended by Defendant Glover., resulting in numerous personal injuries and losses.
Defendant Glover is alleged to have been operating his vehicle in the course and scope of
his employment/agency with Defendant ABF Freight System, Inc. Please see
Complaint., Count One, 4] 4 - 8.
. The Plaintiff claims to have sustained severe and permanent injuries from this accident,
including neck and back injuries, headaches, shoulder injury, transverse process fracture,
disc herniations at spinal levels C5 and C6, and general pain and suffering, and that some
or all of such injuries are permanent. Complaint, Count One, 10 and II. It is alleged
that the Plaintiff has incurred costs for medical care, and that her capacity to carry out
life’s activities and earn income have been reduced. Complaint, { 12.
. This action is being removed to the District Court pursuant to Title 28, United States
Code § 1441(a). In support of this Petition for Removal, Petitioners respectfully state and
represent to the Court as follows:
a. By Complaint dated June 17, 2019, the Plaintiff filed suit against Petitioners.
Service was accomplished on Petitioner ABF Freight System, Inc. on June 19,
2019. Service was accomplished upon Defendant James Glover on June 24,
2019, The Complaint seeks venue in the Connecticut Superior Court, Judicial
Fairfield at Bridgeport.
b. The Plaintiff is a resident of Bridgeport, Connecticut. Please see Summons.
c. Petitioner James Glover is and at all times relevant was an individual residing and
domiciled in York, Pennsylvania, and is a citizen of the Commonwealth of

Pennsylvania.
5.

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d. Defendant ABF Freight System, Inc., is an Arkansas corporation with its principal
place of business being Fort smith, Arkansas.

In the Complaint, Plaintiff alleges that as a result of the subject accident and the
negligence of the Defendants, she sustained certain serious injuries and losses as
described in Paragraph 3 above. She has further alleged that some or all of these are
likely are permanent. The Plaintiff further claims that she has sustained economic
damages in the form of medical expenses, lost wages and loss of earning capacity. In
view of the injury and damages claims being made, the amount in controversy exceeds
$75,000.00, exclusive of interest and costs.
This Court has original jurisdiction over this Action pursuant to 28 U.S.C. §1332(a)(1)
because there is complete diversity of citizenship between Plaintiff and Petitioners, and
because the amount in controversy exceeds the sum or value of $75,000.00, exclusive
of interest and costs.
Venue is proper pursuant to 28 U.S.C. §1391{a) and (b), because the events giving rise to
Plaintiff's claims occurred within the State of Connecticut and Petitioners are subject to
personal jurisdiction in Connecticut.
Pursuant to 28 U.S.C. $1446(d), Petitioners are obligated to notify the Connecticut
Superior Court, Judicial District of Fairfield at Bridgeport, of the filing of this Petition.
See Exhibit B. Petitioners cannot do so at this time because the summons and complaint
have not yet been returned to the Bridgeport Superior Court clerk. Petitioner will file
Exhibit B as soon as the state court action is returned to court, and will provide this Court

with notice of that filing.
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 4 of 18

WHEREFORE, based upon the foregoing, Petitioners respectfully request that the
state court action be removed to the United States District Court for the District of
Connecticut pursuant to 28 U.S.C. §1441(a), and that further proceedings in the Superior

Court of Connecticut, Judicial District of Fairfield at Bridgeport, be discontinued.

Respectfully submitted,

DEFENDANTS/PETITIONERS,
ABF FREIGHT SYSTEM, INC., AND
JAMES GLOVER

By:___ Michael P. Kenney
Michael P. Kenney, Esq.
Federal Bar No. ct26768
Ryan Ryan Deluca LLP
185 Asylum Street, 6" Floor
Hartford, CT 06103
Phone: 860-785-5150
mpkenney(@ryandelucalaw.com
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

ARHELY GONZALEZ-CUEVAS, ! CASE NO.:
Plaintiff, i
v. ! PETITION FOR REMOVAL
' BASED UPON DIVERSITY
JAMES GLOVER AND ‘OF CITIZENSHIP
ABF FREIGHT SYSTEM, INC.,
Defendants. JUNE 28, 2019

 

I hereby certify that on June 28, 2019, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

A copy of the foregoing was served via First Class Mail, postage prepaid, upon:

Michael R. Denkovich, Esq.

Bradley, Denkovich & Karayiannis, PC
853 Fairfield Avenue

Bridgeport CT 06606

Attorneys for the Plaintiff

Michael P. Kenney
Michael P. Kenney, Esq.

Document}
8060.020
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 6 of 18

EXHIBIT A
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“SUMMONS - CIVIL
JO-CV-7 Rev 4-14

C.G.S. $§ 54-346, 51-347, 51-349, 51-350, 52-453,
52-49, $9-259, 9.8, §§ 3-1 through 3-24, 8-1. 10-13

See other side for instructions

Cc "x" if amount, legal interest or oroperty in demand, not including interest and

costs is less than $2,500

"x" if amount, legal interest or property in demand, not including interest and
costs is $2,500 or more.

[_] °x" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make d

this Summons and attached Complaint.

STATE OF CONNECTICUT
SUPERIOR COURT

  

 

www jud.ct gov

and legal service of

 

Address of court clerk where writ and other papers shall be filed (Number, streel, town and zip code}
(CGS §§ 31-346, 57-380)

 

Telephone number of clark
{with area cade)

Return Date (Must ba a Tuesday)

 

 

SUPERIOR COURT, 1061 MAIN STREET, BRIDGEPORT, CT 06604 { 203 )573-6527 JULY. ren 30,2 919
ACh Ua ear

5¢] Judicial District GA Al {Town in witch watrs returnable) (C GS. §§ 51-346, 51-349) Case type code (See list on page 2}

["] Housing Session Ol Number: BRIDGEPORT Majer: V Minar. 04

 

 

 

 

For the Plaintiff(s) please enter the appearance of:

 

Name and address of attomay. lav firm of plaintiff if self-represented (Number, street. town and tip code}

Bradiey, Denkevich & Karayiannis, PC, 853 Fairfield Avenue, Bridgeport, C

T 06604

 

duns number fte be anteved ay atiarney only)

437737

 

Teleshane sumer (with area code}

{203 ) 212-3617

Sinature of Plaintef {if seff-represented)

 

 

The atiomey ar lav fim appearing far the plaintiff, or the plaintft if
salf-represanted, agrees to accept papers (service) electronically in
this case under Section 10-73 of the Connecticut Practice Book,

[] Yes [X] No

 

Email address fer delwery of papers under Section 10-13 (i agreed fo)

 

Number of Plaintiffs: 4 Number of Defendants: 2

[_] Form JD-CV-2 attached for additional parties

 

 

 

 

 

 

 

 

 

Parties Name (Last, First, Middle initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA}
First Name: GONZALEZ-CUEVAS, ARHELY P-04
Plaintiff Address: 310 DOVER STREET, BRIDGEPORT, CT 06610
Additional Name: P.02
Plaintiff Address:
First Name: GLOVER, JAMES B-04
Defendant Address: 210 COPENHAFFER ROAD, YORK, PA 17404
Additional Name: ABF FREIGHT SYSTEM, INC, - 3801 OLD GREENWOOD ROAD, FORT SMITH, AR 72903 D-G2
Defendant Address: C/O CORPORATION SERVICE COMPANY, 50 WESTON STREET, HARTFORD, CT 06120-1537
Additional Name: D-03
Defendant Address:
Additional Name: D-04
Defendant Address:

 

Notice to Each Defendant

1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers slates ihe claims that each plaintiff is making

against you in this jawsuil.

2. To be notified of further proceedings, you or your attorney must file a form called an “Agpearance” with the clerk of the above-named Court at the above
Coun address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court on the

Return Date unless you receive a separate natice telling you to came to court

3. If you o7 your attorney do not file a written “Appearance” form on time, @ judgment may be entered against you by default. The “Appearance” form may be

obtained at the Court address above or al wivw jed.ct.gov under “Court Farms.”

4. If you believe that you have insurance that may cover the claim that is being made against you in this lawsult, you should immediately contact your
insurance representative. Other action you may have to take is described in the Canneciicu! Practice Book which may be found in a superior coun law

library or on-line al wayjua.ct gov under “Coun Rules.”

§. If you have questions about the Summons and Complaint, you should talk to an allorney quickly, The Clerk of Court is not allowed to give advice on

legal questions,

 

 

 

 

 

Signed-*Sign ang. proper b Commissioner of tne” | Name o! Person Signing al Left Date signed
uben ul rs a,
eZ tS ant eiek MICHAEL R. DENKOVICH 06/17/2018
If this Su 1S rethoass signed byeStere For Court Use Only

a. The signing has been dane so that the Plaintiff(s) will not be denied access to the courts
b. itis the responsibility of ihe Plaintiff(s) to see that service is made in the manner provided by Jaw.

c. The Clerk is not permitted to give any tegal advice in cornnmecton with any lawsutt,

d. The Clerk signing this Summons ai the request of the Plaintiff(s) is not responsible in any way for any errors or omissions

in the Summons, any allegations contained in the Complaint, or the service of the Summons or Complaint.

 

 

File Date

 

| certify 1 have read and Signed (Se-Represented Plainhft)

understand the above:

 

Date

 

Gocket Number

 

 

{Page 1 of 2}

 
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RETURN DATE: JULY 30, 2019 : SUPERIOR COURT

ARHELY GONZALEZ-CUEVAS J.D. OF FAIRFIELD
Vv. : AT BRIDGEPORT

JAMES GLOVER and : JUNE 17, 2019

ABF FREIGHT SYSTEM, INC.
COMPLAINT
COUNT ONE - ARHELY GONZALEZ-CUEVAS v. JAMES GLOVER

1. Plaintiff, Arnely Gonzalez-Cuevas is an individual residing within the Town
of Bridgeport, County of Fairfield and State of Connecticut.

2. Defendant, John Glover is an individua! residing within the County of York
and State of Pennsylvania.

3. Defendant, ABF Freight System, Inc. is a foreign corporation doing
business within the State of Connecticut, with a principal place of business located in
the Town of Fort Smith Arkansas and has authorized the Corporation Service Company
as its agent for service of process.

4, On or about January 14, 2018, the plaintiff, Arhely Gonzalez-Cuevas was
the operator of a Dodge bearing Connecticut license plate number Z2ABTW4 which was
operating on Interstate 91 a public street or highway located in the Town of Wallingford,

“County of New Haven and State of Connecticut.
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 9 of 18

5. At said time and place, defendant, John Glover was operating a Mack
truck bearing Okiahoma license plate number 2XM276 which was also traveling on
interstate 91 a public street or highway located in the Town of Wallingford, County of
New Haven and State of Connecticut.

6. At said time and place, defendant, ABF Freight System, Inc. was the
owner of the Mack truck bearing Oklahoma license plate number 2XM276.

t. At said time and piace, defendant, John Glover was an employee, agent,
servant, family member of ABF Freight System, Inc. and among other tasks performed
at the direction and control of ABF Freight System, Inc. was operating the vehicle in the
performance of services for ABF Freight System, Inc. with the authorization,
knowledge, permission and/or consent of the defendant, ABF Freight System, Inc. and
at all times material hereto, was operating said automobile within the scope of his
general authority and permission to do so from the defendant, ABF Freight System, Inc.

8. At said time and place, John Glover while operating the Mack truck did
violently, suddenly and without warning smash into the rear of the vehicle plaintiff,
Arhely Gonzalez-Cuevas operated causing her to suffer the injuries and losses
described below.

9. Said collision and injuries sustained by plaintiff, Arhely Gonzalez-Cuevas

were caused by the negligence and carelessness of the defendant, John Glover in one
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 10 of 18

or more of the following ways:

a.

b.

defendant failed to keep the vehicle under proper and reasonable control:

defendant failed to keep a proper and reasonable lookout for other motor
vehicles upon the highway,

defendant failed to apply brakes in time to avoid a collision, although by
a proper and reasonable exercise of his faculties, he could have done so;

defendant followed the vehicle piaintiff operated more closely than was
reasonable and prudent, without having regard for the speed of such
vehicles and the traffic on the highway in violation of Connecticut General
Statutes §14-240 for which he received a traffic citation;

defendant failed to turn the motor vehicle so as to avoid a collision:

defendani operated the vehicle at an unreasonable rate of speed without
having regard to the width, traffic, and use of the highway, and weather
conditions in violation of Connecticut General Statutes §14-218a;

defendant operated the motor vehicle when it was not equipped with
adequate brakes, or when said brakes were not in good working
condition, in violation of Connecticut General Statues §14-80h;

defendant failed to sound the horn or otherwise warn of his impending
approach;

defendant was inattentive to his driving;

defendant failed to make proper use of his faculties and senses so as to
avoid the aforementioned incident:

defendant failed under ail the circumstances then and there existing to
take reasonable and proper precautions to avoid the probability of harm
to the plaintiff; and
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 11 of 18

10.

defendant violated Connecticut General Statutes §14-98(a) by operating
said motor vehicle without proper or sufficient tires when the same were
reasonably necessary under the circumstances.

As a result of the collision which was caused by the negligence and

carelessness of the defendant, Jonn Glover as described above, plaintiff, Arhely

Gonzalez-Cuevas sustained injuries including but not limited to:

a.

b,

neck injury;

back injury;

restricted ranges of motion;
headaches;

multiple bodily contusions;
radiating pain;

reversal of the normal cervical lordosis:
shoulder injury;

scalp contusion;

transverse process fracture;
C5-6 disc herniation;
spasm and tenderness: and

pain, shock and trauma
Case 3:19-cv-01034-RNC Document 1 Filed 06/28/19 Page 12 of 18

11. From all of the injuries and effects thereof, plaintiff was rendered sore,
sick and disabled and is suffering and will continue to suffer from persistent pain,
discomfort, soreness, aches, emotional upset and limitation of motion and restriction
of activity. Furthermore, some of the injuries which plaintiff sustained are permanent
in nature.

12.  Asafurther result of the injuries sustained, plaintiff incurred expenses for
treatment by physicians, therapy, diagnostic testing, eic., all ta her special damage and
may be required to expend further expenses for such treatments and medications in
the future, all to her special damage. Plaintiff's capacity to carry out and enjoy life’s
activities has been permanenily impaired and diminished and her capacity to earn

income has been reduced.

COUNT TWO - ARHELY GONZALEZ-CUEVAS v. ABF FREIGHT SYSTEM, INC.
1-12, Plaintiff, Arhely Gonzalez-Cuevas hereby realleges and incorporates
paragraphs 1 through 12 of Count One as paragraphs 1 through 12 of this Count Two
as fully set forth herein.
13. Atall times material hereto, defendant, ABF Freight System, Inc., was the
owner of the Mack truck bearing Oklahoma license plate number 2XM276.

14. At all times material hereto, defendant, John Giover was operating the
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Mack truck bearing Oklahoma license plate number 2XM276 owned by defendant, ABF
Freight System, Inc., with permission.

15. At all times material hereto, defendant, John Glover was operating the
Mack truck owned by defendant, ABF Freight System, Inc., as agent, servant, family
member and/or employee.

16. The defendant, ABF Freight System, Inc., is liable to the plaintiff, Arhely
Gonzalez-Cuevas, pursuant to the Connecticut General Statutes §52-182 and/or §52-
183.

17. From all of the injuries and effects thereof, plaintiff was rendered sore,
sick and disabled and is suffering and will continue to suffer from persistent pain,
discomfort, soreness, aches, emotional upset and limitation of motion and restriction
of activity. Furthermore, some of the injuries which plaintiff sustained are permanent
in nature.

18. Asafurther result of the injuries sustained, plaintiff incurred expenses for
treatment by physicians, therapy, diagnostic testing, etc., all to her special damage and
may be required to expend further expenses for such treatments and medications in
the future, all to her special damage. Plaintiff's capacity to carry out and enjoy life’s
activities has been permanently impaired and diminished and her capacity to earn

income has been reduced.
Case 3:19-cv-01034-RNC Document 1 Filed 06/28/19 Page 14 of 18

WHEREFORE, the plaintiff claims the following:
1. Monetary damages;
2. Cosis of this action; and
3. Any other relief, legal or equitable, that the Court deems just and fair.

» LL a

Mich —
Bradiey, Phew & Karayiannis, PC

853 Fairfield Avenue
Bridgeport, CT 06606
Tel: (203) 212-3617
Firm Juris #437737

 

Jinomas A. Lyons
State Miarshalk

 
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RETURN DATE: JULY 30, 2019
ARHELY GONZALEZ-CUEVAS
V.

JAMES GLOVER and -
ABF FREIGHT SYSTEM, INC,

SUPERIOR COURT
J.D. OF FAIRFIELD
AT BRIDGEPORT

JUNE 17, 2019

STATEMENT OF AMOUNT IN DEMAND

The plaintiff seeks damages in excess of Fifteen Thousand Dollars ($15,000.00),

wy HELY GONZALEZ-CUEVAS
By. _——

Miohaél R Denkovich, Esq.
Bradley, Denkovich & Karayiannis, PC

excjusive of interest and costs.

853 Fairfield Avenue
Bridgeport, CT 06606
Tel: (203) 212-3617
Firm Juris #437737

‘Thomas A. Lyons
State Mlarshal
Fairfi Chunty
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Case 3:19-cv-01034-RNC Document 1 Filed 06/28/19 Page 16 of 18

EXHIBIT B
Case 3:19-cv-01034-RNC Document1 Filed 06/28/19 Page 17 of 18

DOCKET NO.: NOT YET ASSIGNED

ARHELY GONZALEZ-CUEVAS
Vv.

JAMES GLOVER, ET AL.

 

SUPERIOR COURT

J.D. OF FAIRFIELD

AT BRIDGEPORT

NOTICE OF REMOVAL TO FEDERAL COURT

NOW COME defendants JAMES GLOVER and ABF FREIGHT SYSTEM, INC., by

and through their undersigned counsel, and hereby provide notice that they have this date filed a

petition for removal of this matter with the United States District Court, District of Connecticut.

A copy of said Petition (without exhibits) is attached hereto as Exhibit A.

The defendants respectfully request that

this Court be discontinued.

By:

Document!

this notice be docketed and that proceedings in

Respectfully submitted,

DEFENDANTS,
JAMES GLOVER AND
ABF FREIGHT SYSTEM, INC.

413253
Michael P. Kenney, Esq.
Ryan Ryan Deluca LLP
CityPlace H
185 Asylum Street, 6" Floor
Hartford, CT 06103
Juris No. 436612
Phone: 860-785-5150
Case 3:19-cv-01034-RNC Document 1 Filed 06/28/19 Page 18 of 18

CERTIFICATE OF SERVICE
Thereby certify that on , 2019, a copy of the above was mailed and/or e-

mailed to the following counsel and pro se parties of record:

Michael R. Denkovich, Esq.

Bradley, Denkovich & Karayiannis, PC
853 Fairfield Avenue

Bridgeport CT 06606

Attorneys for the Plaintiff

413253
Michael P. Kenney, Esq.

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